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JUDFC|AL PANEL ON
MULT|D|STB|CT L|TIGATION

APR 1 8 2005
DOCKETNo. 1657 ctER§FSEc?FFiCE

 

BEFORE THE .IUDICIAL PANEL ON MUL TIDISTRICT LITIGA TION
INRE VIOXXPRODUCTS LIABILITYLITIGA TION
(SEE A TTA CHED SCHED ULE)

CONDITIONAL TRANSFER ORDER (CTO-.6)

On February 16, 2005, the Panel transferred 138 civil actions to the United States Distn'ct Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. Since that time, 280 additional actions have been transferred to the Eastern District of Louisiana.
With the consent of that court, all such actions have been assigned to the Honorable Eldon E. Fallon.

It appears that the actions on this conditional transfer order involve questions of fact which are common to
the actions previouslylrtransferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199 F.R,D.
425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastem District of

Louisiana for the reasons stated in the order of February 16, 2005, F.Supp.2d (J.P.M.L. 2005),
and, With the consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be stayed
fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk of the
Panel within this fifteen (15) day period, the stay will be continued until further order of the Panel.

FOR 'I`HE PANEL:

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Michael J. deck

Clerk of the Panel

 

 

 

lnasmuch as no objection is
pending at this time. the
stay is lifted.

 

MAY -4 2005

 

 

 

CLERK'S OFF|CE
JUD|C|AL PANEL ON

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:05-CV-01068 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

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Honorable J ames Todd
US DISTRICT COURT

